   Case 1:18-cv-01761-MSK-NYW Document 18-1 Filed 10/04/18 USDC Colorado Page 1 of 7


U.S. Department of Justice                                                    PROCESS RECEIPT AND RETURN
United States Marshals Service                                                See Instructions for "Service of Process by the U.S. Marshal"
                                                                              on the reverse of this form.

PLAINTIFF                                                                     COURT CASE NUMBER
Tiffany Grays                                                                 18-cv-01761-WYD
DEFENDANT                                                                     TYPE OF PROCESS
Auto Mart USA, LLC, et al.                                                    S/C

 SERVE          NAME OF INDIVIDUAL, COMPANY, CORPORATION, ETC., TO SERVE OR DESCRIPTION OF PROPERTY TO SEIZE OR
                CONDEMN
   $            Auto Mart USA, LLC
   AT
                ADDRESS (Street or RFD, Apartment No., City State and Zip Code)
                835 South Havana St,, Aurora, CO 80012

SEND NOTICE OF SERVICE COPY TO REQUESTER AT NAME AND ADDRESS BELOW:                                       Number of process to be
                                                                                                          served with this Form - 285          1
        Tiffany Grays
        P.O. Box 472322                                                                                   Number of parties to be
        Aurora, CO 80013                                                                                  served in this case                  7
                                                                                                          Check for service on U.S.A.
SPECIAL INSTRUCTIONS OR OTHER INFORMATION THAT WILL ASSIST IN EXPEDITING SERVICE (Include Business and Alternate
Addresses, All Telephone Numbers, and Estimated Times Available For Service):
Personal Service
Signature of Attorney or other Originator requesting service on behalf         X      PLAINTIFF       TELEPHONE NUMBER              DATE
of: s/D. Berardi
Deputy Clerk                                                                        DEFENDANT                   303-844-3433             10/4/2018


     SPACE BELOW FOR USE OF U.S. MARSHAL ONLY - DO NOT WRITE BELOW THIS LINE
I acknowledge receipt for the      Total         District of    District to      Signature of Authorized USMS Deputy or Clerk Date
total number of process indicated. Process       Origin         Serve
(Sign only first USM 285 if more
than one USM 285 is submitted)                   No.            No.
I hereby certify and return that I_____ have personally served, _____ have legal evidence of service, _____ have executed as shown in "Remarks",
the process described on the individual, company, corporation, etc., at the address shown above or on the individual, company, etc., shown at the
address indicated below.
_____ I hereby certify and return that I am unable to locate the individual, company, corporation, etc., named above (See remarks below)
Name and title of individual served (if not shown above)                                           _____ A person of suitable age and discretion then
                                                                                                   residing in the defendant's usual place of adobe.

Address (complete only if different than shown above)                                              Date of Service           Time                    am
                                                                                                                                                     pm
                                                                                                   Signature of U.S. Marshal or Deputy



Service Fee      Total Mileage Charges         Forwarding Fee    Total Charges         Advance Deposits Amount owed to U.S. Amount of Refund
                 (including endeavors)                                                                  Marshal or

REMARKS:




PRIOR EDITIONS                                       1. CLERK OF THE COURT                                           FORM USM-285 (Rev. 12/15/80)
MAY BE USED
   Case 1:18-cv-01761-MSK-NYW Document 18-1 Filed 10/04/18 USDC Colorado Page 2 of 7


U.S. Department of Justice                                                    PROCESS RECEIPT AND RETURN
United States Marshals Service                                                See Instructions for "Service of Process by the U.S. Marshal"
                                                                              on the reverse of this form.

PLAINTIFF                                                                     COURT CASE NUMBER
Tiffany Grays                                                                 18-cv-01761-WYD
DEFENDANT                                                                     TYPE OF PROCESS
Auto Mart USA, LLC, et al.                                                    S/C

 SERVE          NAME OF INDIVIDUAL, COMPANY, CORPORATION, ETC., TO SERVE OR DESCRIPTION OF PROPERTY TO SEIZE OR
                CONDEMN
   $            Daniel Ramirez
   AT
                ADDRESS (Street or RFD, Apartment No., City State and Zip Code)
                835 South Havana St,, Aurora, CO 80012

SEND NOTICE OF SERVICE COPY TO REQUESTER AT NAME AND ADDRESS BELOW:                                       Number of process to be
                                                                                                          served with this Form - 285          2
        Tiffany Grays
        P.O. Box 472322                                                                                   Number of parties to be
        Aurora, CO 80013                                                                                  served in this case                  7
                                                                                                          Check for service on U.S.A.
SPECIAL INSTRUCTIONS OR OTHER INFORMATION THAT WILL ASSIST IN EXPEDITING SERVICE (Include Business and Alternate
Addresses, All Telephone Numbers, and Estimated Times Available For Service):
Personal Service
Signature of Attorney or other Originator requesting service on behalf         X      PLAINTIFF       TELEPHONE NUMBER              DATE
of: s/D. Berardi
Deputy Clerk                                                                        DEFENDANT                   303-844-3433             10/4/2018


     SPACE BELOW FOR USE OF U.S. MARSHAL ONLY - DO NOT WRITE BELOW THIS LINE
I acknowledge receipt for the      Total         District of    District to      Signature of Authorized USMS Deputy or Clerk Date
total number of process indicated. Process       Origin         Serve
(Sign only first USM 285 if more
than one USM 285 is submitted)                   No.            No.
I hereby certify and return that I_____ have personally served, _____ have legal evidence of service, _____ have executed as shown in "Remarks",
the process described on the individual, company, corporation, etc., at the address shown above or on the individual, company, etc., shown at the
address indicated below.
_____ I hereby certify and return that I am unable to locate the individual, company, corporation, etc., named above (See remarks below)
Name and title of individual served (if not shown above)                                           _____ A person of suitable age and discretion then
                                                                                                   residing in the defendant's usual place of adobe.

Address (complete only if different than shown above)                                              Date of Service           Time                    am
                                                                                                                                                     pm
                                                                                                   Signature of U.S. Marshal or Deputy



Service Fee      Total Mileage Charges         Forwarding Fee    Total Charges         Advance Deposits Amount owed to U.S. Amount of Refund
                 (including endeavors)                                                                  Marshal or

REMARKS:




PRIOR EDITIONS                                       1. CLERK OF THE COURT                                           FORM USM-285 (Rev. 12/15/80)
MAY BE USED
   Case 1:18-cv-01761-MSK-NYW Document 18-1 Filed 10/04/18 USDC Colorado Page 3 of 7


U.S. Department of Justice                                                    PROCESS RECEIPT AND RETURN
United States Marshals Service                                                See Instructions for "Service of Process by the U.S. Marshal"
                                                                              on the reverse of this form.

PLAINTIFF                                                                     COURT CASE NUMBER
Tiffany Grays                                                                 18-cv-01761-WYD
DEFENDANT                                                                     TYPE OF PROCESS
Auto Mart USA, LLC, et al.                                                    S/C

 SERVE          NAME OF INDIVIDUAL, COMPANY, CORPORATION, ETC., TO SERVE OR DESCRIPTION OF PROPERTY TO SEIZE OR
                CONDEMN
   $            Jorge Pacheco
   AT
                ADDRESS (Street or RFD, Apartment No., City State and Zip Code)
                835 South Havana St,, Aurora, CO 80012

SEND NOTICE OF SERVICE COPY TO REQUESTER AT NAME AND ADDRESS BELOW:                                       Number of process to be
                                                                                                          served with this Form - 285          3
        Tiffany Grays
        P.O. Box 472322                                                                                   Number of parties to be
        Aurora, CO 80013                                                                                  served in this case                  7
                                                                                                          Check for service on U.S.A.
SPECIAL INSTRUCTIONS OR OTHER INFORMATION THAT WILL ASSIST IN EXPEDITING SERVICE (Include Business and Alternate
Addresses, All Telephone Numbers, and Estimated Times Available For Service):
Personal Service
Signature of Attorney or other Originator requesting service on behalf         X      PLAINTIFF       TELEPHONE NUMBER              DATE
of: s/D. Berardi
Deputy Clerk                                                                        DEFENDANT                   303-844-3433             10/4/2018


     SPACE BELOW FOR USE OF U.S. MARSHAL ONLY - DO NOT WRITE BELOW THIS LINE
I acknowledge receipt for the      Total         District of    District to      Signature of Authorized USMS Deputy or Clerk Date
total number of process indicated. Process       Origin         Serve
(Sign only first USM 285 if more
than one USM 285 is submitted)                   No.            No.
I hereby certify and return that I_____ have personally served, _____ have legal evidence of service, _____ have executed as shown in "Remarks",
the process described on the individual, company, corporation, etc., at the address shown above or on the individual, company, etc., shown at the
address indicated below.
_____ I hereby certify and return that I am unable to locate the individual, company, corporation, etc., named above (See remarks below)
Name and title of individual served (if not shown above)                                           _____ A person of suitable age and discretion then
                                                                                                   residing in the defendant's usual place of adobe.

Address (complete only if different than shown above)                                              Date of Service           Time                    am
                                                                                                                                                     pm
                                                                                                   Signature of U.S. Marshal or Deputy



Service Fee      Total Mileage Charges         Forwarding Fee    Total Charges         Advance Deposits Amount owed to U.S. Amount of Refund
                 (including endeavors)                                                                  Marshal or

REMARKS:




PRIOR EDITIONS                                       1. CLERK OF THE COURT                                           FORM USM-285 (Rev. 12/15/80)
MAY BE USED
   Case 1:18-cv-01761-MSK-NYW Document 18-1 Filed 10/04/18 USDC Colorado Page 4 of 7


U.S. Department of Justice                                                    PROCESS RECEIPT AND RETURN
United States Marshals Service                                                See Instructions for "Service of Process by the U.S. Marshal"
                                                                              on the reverse of this form.

PLAINTIFF                                                                     COURT CASE NUMBER
Tiffany Grays                                                                 18-cv-01761-WYD
DEFENDANT                                                                     TYPE OF PROCESS
Auto Mart USA, LLC, et al.                                                    S/C

 SERVE          NAME OF INDIVIDUAL, COMPANY, CORPORATION, ETC., TO SERVE OR DESCRIPTION OF PROPERTY TO SEIZE OR
                CONDEMN
   $            Marco Sandoval
   AT
                ADDRESS (Street or RFD, Apartment No., City State and Zip Code)
                835 South Havana St,, Aurora, CO 80012

SEND NOTICE OF SERVICE COPY TO REQUESTER AT NAME AND ADDRESS BELOW:                                       Number of process to be
                                                                                                          served with this Form - 285          4
        Tiffany Grays
        P.O. Box 472322                                                                                   Number of parties to be
        Aurora, CO 80013                                                                                  served in this case                  7
                                                                                                          Check for service on U.S.A.
SPECIAL INSTRUCTIONS OR OTHER INFORMATION THAT WILL ASSIST IN EXPEDITING SERVICE (Include Business and Alternate
Addresses, All Telephone Numbers, and Estimated Times Available For Service):
Personal Service
Signature of Attorney or other Originator requesting service on behalf         X      PLAINTIFF       TELEPHONE NUMBER              DATE
of: s/D. Berardi
Deputy Clerk                                                                        DEFENDANT                   303-844-3433             10/4/2018


     SPACE BELOW FOR USE OF U.S. MARSHAL ONLY - DO NOT WRITE BELOW THIS LINE
I acknowledge receipt for the      Total         District of    District to      Signature of Authorized USMS Deputy or Clerk Date
total number of process indicated. Process       Origin         Serve
(Sign only first USM 285 if more
than one USM 285 is submitted)                   No.            No.
I hereby certify and return that I_____ have personally served, _____ have legal evidence of service, _____ have executed as shown in "Remarks",
the process described on the individual, company, corporation, etc., at the address shown above or on the individual, company, etc., shown at the
address indicated below.
_____ I hereby certify and return that I am unable to locate the individual, company, corporation, etc., named above (See remarks below)
Name and title of individual served (if not shown above)                                           _____ A person of suitable age and discretion then
                                                                                                   residing in the defendant's usual place of adobe.

Address (complete only if different than shown above)                                              Date of Service           Time                    am
                                                                                                                                                     pm
                                                                                                   Signature of U.S. Marshal or Deputy



Service Fee      Total Mileage Charges         Forwarding Fee    Total Charges         Advance Deposits Amount owed to U.S. Amount of Refund
                 (including endeavors)                                                                  Marshal or

REMARKS:




PRIOR EDITIONS                                       1. CLERK OF THE COURT                                           FORM USM-285 (Rev. 12/15/80)
MAY BE USED
   Case 1:18-cv-01761-MSK-NYW Document 18-1 Filed 10/04/18 USDC Colorado Page 5 of 7


U.S. Department of Justice                                                    PROCESS RECEIPT AND RETURN
United States Marshals Service                                                See Instructions for "Service of Process by the U.S. Marshal"
                                                                              on the reverse of this form.

PLAINTIFF                                                                     COURT CASE NUMBER
Tiffany Grays                                                                 18-cv-01761-WYD
DEFENDANT                                                                     TYPE OF PROCESS
Auto Mart USA, LLC, et al.                                                    S/C

 SERVE          NAME OF INDIVIDUAL, COMPANY, CORPORATION, ETC., TO SERVE OR DESCRIPTION OF PROPERTY TO SEIZE OR
                CONDEMN
   $            JB Ovalle
   AT
                ADDRESS (Street or RFD, Apartment No., City State and Zip Code)
                835 South Havana St,, Aurora, CO 80012

SEND NOTICE OF SERVICE COPY TO REQUESTER AT NAME AND ADDRESS BELOW:                                       Number of process to be
                                                                                                          served with this Form - 285          5
        Tiffany Grays
        P.O. Box 472322                                                                                   Number of parties to be
        Aurora, CO 80013                                                                                  served in this case                  7
                                                                                                          Check for service on U.S.A.
SPECIAL INSTRUCTIONS OR OTHER INFORMATION THAT WILL ASSIST IN EXPEDITING SERVICE (Include Business and Alternate
Addresses, All Telephone Numbers, and Estimated Times Available For Service):
Personal Service
Signature of Attorney or other Originator requesting service on behalf         X      PLAINTIFF       TELEPHONE NUMBER              DATE
of: s/D. Berardi
Deputy Clerk                                                                        DEFENDANT                   303-844-3433             10/4/2018


     SPACE BELOW FOR USE OF U.S. MARSHAL ONLY - DO NOT WRITE BELOW THIS LINE
I acknowledge receipt for the      Total         District of    District to      Signature of Authorized USMS Deputy or Clerk Date
total number of process indicated. Process       Origin         Serve
(Sign only first USM 285 if more
than one USM 285 is submitted)                   No.            No.
I hereby certify and return that I_____ have personally served, _____ have legal evidence of service, _____ have executed as shown in "Remarks",
the process described on the individual, company, corporation, etc., at the address shown above or on the individual, company, etc., shown at the
address indicated below.
_____ I hereby certify and return that I am unable to locate the individual, company, corporation, etc., named above (See remarks below)
Name and title of individual served (if not shown above)                                           _____ A person of suitable age and discretion then
                                                                                                   residing in the defendant's usual place of adobe.

Address (complete only if different than shown above)                                              Date of Service           Time                    am
                                                                                                                                                     pm
                                                                                                   Signature of U.S. Marshal or Deputy



Service Fee      Total Mileage Charges         Forwarding Fee    Total Charges         Advance Deposits Amount owed to U.S. Amount of Refund
                 (including endeavors)                                                                  Marshal or

REMARKS:




PRIOR EDITIONS                                       1. CLERK OF THE COURT                                           FORM USM-285 (Rev. 12/15/80)
MAY BE USED
   Case 1:18-cv-01761-MSK-NYW Document 18-1 Filed 10/04/18 USDC Colorado Page 6 of 7


U.S. Department of Justice                                                    PROCESS RECEIPT AND RETURN
United States Marshals Service                                                See Instructions for "Service of Process by the U.S. Marshal"
                                                                              on the reverse of this form.

PLAINTIFF                                                                     COURT CASE NUMBER
Tiffany Grays                                                                 18-cv-01761-WYD
DEFENDANT                                                                     TYPE OF PROCESS
Auto Mart USA, LLC, et al.                                                    S/C

 SERVE          NAME OF INDIVIDUAL, COMPANY, CORPORATION, ETC., TO SERVE OR DESCRIPTION OF PROPERTY TO SEIZE OR
                CONDEMN
   $            Donnie McElroy
   AT
                ADDRESS (Street or RFD, Apartment No., City State and Zip Code)
                835 South Havana St,, Aurora, CO 80012

SEND NOTICE OF SERVICE COPY TO REQUESTER AT NAME AND ADDRESS BELOW:                                       Number of process to be
                                                                                                          served with this Form - 285          6
        Tiffany Grays
        P.O. Box 472322                                                                                   Number of parties to be
        Aurora, CO 80013                                                                                  served in this case                  7
                                                                                                          Check for service on U.S.A.
SPECIAL INSTRUCTIONS OR OTHER INFORMATION THAT WILL ASSIST IN EXPEDITING SERVICE (Include Business and Alternate
Addresses, All Telephone Numbers, and Estimated Times Available For Service):
Personal Service
Signature of Attorney or other Originator requesting service on behalf         X      PLAINTIFF       TELEPHONE NUMBER              DATE
of: s/D. Berardi
Deputy Clerk                                                                        DEFENDANT                   303-844-3433             10/4/2018


     SPACE BELOW FOR USE OF U.S. MARSHAL ONLY - DO NOT WRITE BELOW THIS LINE
I acknowledge receipt for the      Total         District of    District to      Signature of Authorized USMS Deputy or Clerk Date
total number of process indicated. Process       Origin         Serve
(Sign only first USM 285 if more
than one USM 285 is submitted)                   No.            No.
I hereby certify and return that I_____ have personally served, _____ have legal evidence of service, _____ have executed as shown in "Remarks",
the process described on the individual, company, corporation, etc., at the address shown above or on the individual, company, etc., shown at the
address indicated below.
_____ I hereby certify and return that I am unable to locate the individual, company, corporation, etc., named above (See remarks below)
Name and title of individual served (if not shown above)                                           _____ A person of suitable age and discretion then
                                                                                                   residing in the defendant's usual place of adobe.

Address (complete only if different than shown above)                                              Date of Service           Time                    am
                                                                                                                                                     pm
                                                                                                   Signature of U.S. Marshal or Deputy



Service Fee      Total Mileage Charges         Forwarding Fee    Total Charges         Advance Deposits Amount owed to U.S. Amount of Refund
                 (including endeavors)                                                                  Marshal or

REMARKS:




PRIOR EDITIONS                                       1. CLERK OF THE COURT                                           FORM USM-285 (Rev. 12/15/80)
MAY BE USED
   Case 1:18-cv-01761-MSK-NYW Document 18-1 Filed 10/04/18 USDC Colorado Page 7 of 7


U.S. Department of Justice                                                    PROCESS RECEIPT AND RETURN
United States Marshals Service                                                See Instructions for "Service of Process by the U.S. Marshal"
                                                                              on the reverse of this form.

PLAINTIFF                                                                     COURT CASE NUMBER
Tiffany Grays                                                                 18-cv-01761-WYD
DEFENDANT                                                                     TYPE OF PROCESS
Auto Mart USA, LLC, et al.                                                    S/C

 SERVE          NAME OF INDIVIDUAL, COMPANY, CORPORATION, ETC., TO SERVE OR DESCRIPTION OF PROPERTY TO SEIZE OR
                CONDEMN
   $            Jay Barber
   AT
                ADDRESS (Street or RFD, Apartment No., City State and Zip Code)
                835 South Havana St,, Aurora, CO 80012

SEND NOTICE OF SERVICE COPY TO REQUESTER AT NAME AND ADDRESS BELOW:                                       Number of process to be
                                                                                                          served with this Form - 285          7
        Tiffany Grays
        P.O. Box 472322                                                                                   Number of parties to be
        Aurora, CO 80013                                                                                  served in this case                  7
                                                                                                          Check for service on U.S.A.
SPECIAL INSTRUCTIONS OR OTHER INFORMATION THAT WILL ASSIST IN EXPEDITING SERVICE (Include Business and Alternate
Addresses, All Telephone Numbers, and Estimated Times Available For Service):
Personal Service
Signature of Attorney or other Originator requesting service on behalf         X      PLAINTIFF       TELEPHONE NUMBER              DATE
of: s/D. Berardi
Deputy Clerk                                                                        DEFENDANT                   303-844-3433             10/4/2018


     SPACE BELOW FOR USE OF U.S. MARSHAL ONLY - DO NOT WRITE BELOW THIS LINE
I acknowledge receipt for the      Total         District of    District to      Signature of Authorized USMS Deputy or Clerk Date
total number of process indicated. Process       Origin         Serve
(Sign only first USM 285 if more
than one USM 285 is submitted)                   No.            No.
I hereby certify and return that I_____ have personally served, _____ have legal evidence of service, _____ have executed as shown in "Remarks",
the process described on the individual, company, corporation, etc., at the address shown above or on the individual, company, etc., shown at the
address indicated below.
_____ I hereby certify and return that I am unable to locate the individual, company, corporation, etc., named above (See remarks below)
Name and title of individual served (if not shown above)                                           _____ A person of suitable age and discretion then
                                                                                                   residing in the defendant's usual place of adobe.

Address (complete only if different than shown above)                                              Date of Service           Time                    am
                                                                                                                                                     pm
                                                                                                   Signature of U.S. Marshal or Deputy



Service Fee      Total Mileage Charges         Forwarding Fee    Total Charges         Advance Deposits Amount owed to U.S. Amount of Refund
                 (including endeavors)                                                                  Marshal or

REMARKS:




PRIOR EDITIONS                                       1. CLERK OF THE COURT                                           FORM USM-285 (Rev. 12/15/80)
MAY BE USED
